
79 So. 3d 946 (2012)
Olimpia Boveda DEPENA, individually and as representative of Depena &amp; Depena, P.A., and Olimpia Boveda Depena, L.L.C., Appellants,
v.
Serafin MOLINA, Advanced Masonry Systems and PMA Group, Appellees.
No. 1D11-6445.
District Court of Appeal of Florida, First District.
February 23, 2012.
Bill McCabe, Longwood, for Appellants.
Michael E. McCabe, Fort Myers, for Appellees.
PER CURIAM.
Upon review of Appellant's response to this court's December 19, 2011, order to *947 show cause, we conclude the order on appeal is a non-appealable, nonfinal order. See Fla. R.App. P. 9.180(b)(1). Accordingly, the appeal is DISMISSED for lack of jurisdiction.
VAN NORTWICK, THOMAS and ROWE, JJ., concur.
